[N THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

ELEANOR TYS()N, ALFRONZO COTTON, )
QUENTIN MCKISSACK, CARLOS WHITE, )
and TIANNA BIRDSONG, )
)
) Case No.
)
Plaintiffs, ) Judge
)
v. ) Magistrate Judge
)
NASHVILLE SG HOLDINGS, LLC, ) Jury Demand
WILLIAM MCKECHNIE and )
JONATHAN DROLSHAGEN, )
)
Defendants. )
QQMELAME

For their Coniplaint against Defendants Nashville SG Holdings, LLC (SG), William
Mckechnie (McKechnie), and Jonathan Drolshagen (Drolshagen), Plaintiffs Eleanor Tyson,

Alii'onzo Cotton, Quentin McKissack, Carlos White and Tianna Birdsong (Plaintiffs) state:

PARTIES
l. laintiffs are each former employees ofDefendant SG-.
2. Defendant 5G is a Virginia limited liability company With its principle place of

business in Charlottesville, Virginia. Defendant SG operates, pursuant to a H'anchise, Various
“Five Guys Burgers and Fries” restaurants Within the Middle District of Tennessee. At all
relevant times, Defendant SG employed more than 15 individuals, including Plaintiffs.
Defendant SG may be Served With process through its registered agent, Capitol Corporate

Services, Inc., 992 Davidson Drive, Suite B, Nashville, Tennessee 37205-1051.

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3. Det`endant McKechnie is a resident of Charlottsville, Virginia and an owner of
Defendant 5G. Defendant McKechnie may be served with process at his oftice, 36 Old Farm
Road, Charlottesville, Virginia 22903.

4. Defendant Drolshagen is a resident of Nashville, Tennessee, and an Area
Manager of Defendant 5G. Defendant Drolshagen may be served with process at his residence,
5602 Meadowcrest Lane, Nashville, Tennessee 37209-4647.

JURISDICTION AND VENUE

5. This is an action for damages and equitable relief for unlawful employment
practices brought under 42 U.S.C. § 1981 (Section 1981), Title VII of the Civil Rights Act of
1964, as amended, 42 U.S.C. § 2000€, er seq. (Title Vll), the Tennessee Hurnan Rights Act,
Tenn. Code Ann. § 4-21~]01, et seq. (THRA) and Tennessee common law. The Court has
jurisdiction under 28 U.S.C. §§ 1331 and 1367(a). Venne is proper under 28 U.S.C. § l39l.

6. Plaintift`s 'i`yson, Cotton and McKissacl< filed timely charges of discrimination
with the U.S. Equal Eniployment Opportunity Commission (EEOC) and the EEOC mailed them
Notices of Right to Sue on July 9, 2012. Plaintiffs Tyson, Cotton and McKissack bring their
claims under Section l98l, Title ‘ ll, the THRA and the comm"n law. Plai‘itifrs White and
Birdsong bring their claims under Section 1981, the THRA and the common law.

FACTS

7. Plaintiffs are African-American individuals and former employees of Defendant
5G. Plaintiff Tyson worked as a Generai Manager at SG’s West End Avenue and Green Hills
“Five Guys Burgers and Fries” restaurants for four years. Plaintiff Cotton worked as a shift
manager and Plaintiffs McKissack, White and Birdsong worked as crew members at SG’s

Nashville restaurants

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8. Plaintiffs were qualified for their jobs with Defendant 5G and performed them in
an excellent mannerl

9. Plaintiffs engaged in legally protected activity ln June 2009, l\/[s. Tyson testified
adversely to Defendants 5G and McKechnie in another consolidated race discrimination action
against them in this Court styled Maryann Brorhers, er al., v. Nashville 5G Holdings, LLC, et al.,
Case No. 3:08-cv-ll66 (“Brorhers, et af.”) and Teaim Kz'ng, er al., v, Nashviile 56 Hola’z'ngs,
LLC, er al., Case No. 3:09-cv-549 (“Kz`ng, et al.”). Further, in 2011 Ms. Tyson opposed potential
wage and hour violations in Defendants’ Nashville area stores with respect to employees not
being permitted to clock out for breaks following six or more hours of Work. The remaining
plaintiffs were subjected to racial slurs in the workplace and comments by Defendants about how
Defendants desired more Caucasian and fewer African-American employees These plaintiffs
complained to Defendants (and particularly to Defendant Drolshagen) about and opposed such
illegal workplace conduct.

l(). Defendants subjected Plaintiffs to adverse employment actions Defendants failed
and refused to promote Ms. Tyson to an available Area l\/lanager position in which she had
expressed interest and for which she was superiorly qualified i“r April 2009 and a"ain in
September 201(). Defendants discharged Ms. Tyson on December 13, 201l. Defendant failed
and refused to rehire l\/Is. Tyson to an available General Manager position in which she
expressed interest in late April 2012, Defendants discharged Plaintiff White on March 3, 2011,
Plaintiff Birdsong on l\/lay 15, 2011, and Plaintiffs Cotton and McKissack on November 22,
201 l .

ll. Defendants hired a less qualified Caucasian male, J'ohn lsaac, for the available

Area Manager position instead of l\/ls. Tyson in April 2009. Mr. lsaac had no experience

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managing restaurants whereas Ms. Tyson has over 20 years’ experience as a restaurant General
Manager, including managing 5G’s Nashville area restaurants Further, Defendants discharged
l\/lr. lsaac in or about September 2010. Defendants then hired another less qualified Caucasian
male, Defendant Drolshagen, for the available Area Manager position instead of Ms. Tyson in
September 20l0. Mr. Drolshagen had little or no experience managing restaurants compared to
Ms. Tyson. Defendants further selected a less qualitied non-African-American individual-for the
General Manager position that became available in late April 2012 instead of Ms. Tyson.

12. Throughout Plaintiffs’ employment, Defendants discriminated against them and
treated them differently and less favorably in the terms, conditions and privileges of employment
than similarly situated, non-African-American employees because of their race.

13. Following their discharges Defendants replaced Plaintiffs with non-African-
American individuals

14. Defendants’ alleged reasons for discharging Plaintiffs and for failing to promote
and rehire l\/[s. Tyson are pretexts for discrimination and retaliation. Defendants failed and
refused to promote Ms. Tyson to the available Area Manager position in April 2009 because of
her race. Defendants failed and refused to promote l`vts. Tyson to the available Area Manager
position in September 2010, discharged her in December 2011, and failed and refused to rehire
her for the available General Manager position in April 2012 because of her race and/or in
retaliation for engaging in legally protected activities Defendants discharged Plaintiff White on
March 3, 2011, Plaintiff Birdsong on May 15, 2011, and Plaintiffs Cotton and McKissack on
November 22, 2011, because of their race and/or in retaliation for reporting, opposing, and

refusing to remain silent about and/or participate in Defendants’ illegal activities

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15. During Plaintiffs’ employment Defendants allowed and failed to remedy a racially
hostile Work environment that altered Plaintiffs’ working conditions Throughout their
employment, Plaintiffs were repeatedly subjected to unwelcome, objectively and subjectively
offensive racially discriminatory statements and conduct by non-African-American managerial
agents of Defendants

16. Defendants discriminated against Plaintiffs because of their race in violation of
Section 1981, Title Vll and the THRA.

17. Plaintiffs reported, opposed and refused to remain silent about or participate in
Defendants’ illegal discriminatory conduct and Defendants retaliated against them for doing so,
in violation of Section 1981, Title Vll and the THRA.

18. Defendants McKechnie and Drolshagen aided, abetted, incited, compelled and/or
commanded persons, including those employed by them and the defendant company they
controlled, to engage in discriminatory and retaliatory practices and also retaliated against
Plaintiffs.

19. As a result of Defendants’ actions, Plaintiffs have suffered damages

20. As a result of their actions Defendants are liable to Plaintiffs in an amount to be
determined by the jury for the damages Plaintiffs have suffered
21. As a result of their actions, Defendants are liable for punitive damages and for

Plaintiffs’ attorneys’ fees and costs

22. As a result of their actions, Defendants are obligated to make Plamtiffs whole for

all lost earnings and benefits

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Claims for Race Discrimination, Racially Hostile Work Environrnent and Retaliation
in Violation of Federal and Tennessee Law

(Against All Defendants)
23. Plaintiffs hereby incorporate and reallege the factual averments as set forth in
paragraphs 1 through 22 herein
24. Defendants discriminated against Plaintiffs in the terms, conditions and privileges

of their employment, relilsed to promote Plaintiff Tyson to the Area l\/lanager position and to
rehire her to the General l\/lanager position and discharged all Plaintiffs nom their employment
because of their race, in violation of Section 1981, Title Vll and the THRA.

25. Defendants allowed and failed to remedy a racially hostile work environment that
altered Plaintiffs’ working conditions in violation of Section 1981, Title Vll and the THRA.

26. Defendants retaliated against Plaintiffs for reporting, opposing and refusing to
remain silent about or participate in illegal conduct and, in addition, in the case of Plaintiff
Tyson, for giving adverse testimony in the Brothers, er al. and Kz`ng, er al. race discrimination
cases against Defendants, in violation of Section 1981, Title Vll and the THRA.

27. Defendants McKechnie and Drolshagen aided, abetted, incited, compelled and/or
commanded persons, including those employed by them and the defendant company they
controlled, to engage in discriminatory and retaliatory practices and retaliated against plaintiffs
in violation of Tenn. Code Ann. § 4-21-102 and § 4-21-30l. Defendants l\/[cKechnie and
Drolshagen are individually liable to Plaintiffs under Section 1981 and the THRA.

28. As a result of their actions, Defendants are liable to Plaintiffs in an amount to be
determined by the jury for the damages Plaintiffs have suffered as well as for punitive damages

29. As a result of their actions, Defendants are liable for plaintiffs’ attorneys’ fees and

costs

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30. As a result of their actions, defendants are obligated to make Plaintiffs whole for
all lost earnings and benefits

WHEREFORE, premises considered, Plaintiffs demand the following relief:

l. A jury trial and entry of judgment in their favor;
2. Back pay and damages for lost benefits;
3. Compensatory damages for embarrassment and humiliation, emotional pain and

suffering and mental anguish, stress and anxiety, inconvenience, and loss of enjoyment of life;

4. Reinstatement or, alternatively, front pay and damages for lost benefits;
5. Punitive damages;

6. Attorneys’ fees and expenses;

7. Prejudgment interest and, if applicable, post judgment interest; and

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Such other and further legal cr equitable relief to which they may be entitled

Respectfully submitted,

 
     
       

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